                     IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE


UNITED STATES DISTRICT COURT                            Case: 3:22-CV-00325
MIDDLE DISTRICT OF TENNESSEE                            Honorable Eli J. Richardson
                                                        Magistrate, N/A (Jury Trial)

Daniel S Greenberg                                  DISMISSAL OBJECTION re
                                                    VERIFIED CLAIM FOR
      Plaintiff                                     MALICIOUS ABUSE OF PROCESS;
              v.                                    TORTIOUS BREACH OF PROPERTY;
                                                    TORTIOUS INTERFERENCE WITH
Carla D Gifford, a woman                            CONTRACT OBLIGATIONS; FRAUD
Herbert Slatery, a man, et al                       FOR DAMAGES, AND FOR
STATE OF TENNESSEE, a corporation                   DECLARATORY RELIEF
CITY OF NASHVILLE, TENNESSEE, a corp                42 USC §§ 1983, 1986 re: Amendments
CITY OF FRANKLIN, TENNESSEE, a corp                 IV, V, VI,VII, XIV and Article I Section
COUNTY OF DAVIDSON, TENNESSEE, a corp               10, Section 504 Rehabilitation Act,
COUNTY OF WILLIAMSON, TENNESSEE, corp               Americans with Disabilities Act (ADA)
DOES 1-69                                           The Hobbs Act


                          TRIAL BY JURY DEMANDED

_____________________________________________________________________________________

                   OBJECTION 3 TO CASE DISMISSAL
                RULE 46 OF FEDERAL CIVIL PROCEDURE
                                 AND
     FEDERAL RULES CIV. PROC., RULE 60(b)(4),28 U.S.C.A., U.S.C.A. CONST.
   INTENTIONAL VIOLATION OF JUDICIAL CANNONS, EXCEPTIONS TO THE
       ‘DOMESTIC RELATIONS EXCLUSION’ CLAUSE, THE HOBBS ACT

                        Filed with Reservation to Further Amend




                                        1! of !33
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 1 of 33 PageID #: 322
Now comes The Plaintiff yet again to move the Court to reinstate this case and prepare it for

trial. The Defendants’ previously stated violations, those further outlined here, and violations of

The Hobbs Act are NOT subject to this Court’s utter nonsensical case dismissal under the

‘Domestic Relations Exclusion’ clause. The Plaintiff is supplying ample information and

documentation, again, to validate. It is worth noting, again, this Court SHOULD be cognizant

of the material presented here such that the Plaintiff should not have to provide or explain it to

this Court as if this Court was lead by lower level inexperienced jurists like Julie Palafox,

Theodore Howard, Joseph Woodruff, or Phillip Robinson.



Fact A:

The Hobbs Act also reaches extortionate acts by public officials acting under the color of law. A

public official commits extortion under the color of law when he obtains a payment to which he

is not entitled knowing that it was made in exchange for official acts.[5] § 1951 therefore not only

embraces the same conduct the federal bribery statute (18 U.S.C. § 201) prohibits, it goes further

in two ways:

  1      § 1951 is not limited to federal public officials.

  2      The government need only prove a public official agreed to take some official action in

         exchange for payment as opportunities arose to do so (i.e. a "stream of benefits" theory)

         to sustain a § 1951 charge whereas, under § 201, the government must prove an

         express quid pro quo (or something approaching one).[6]




                                                 2! of !33
      Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 2 of 33 PageID #: 323
When a judge acts intentionally and knowingly to deprive a person of his constitutional rights he exercises
no discretion or individual judgment; he acts no longer as a judge, but as a " minister" of his own
prejudices. [386 U.S. 547, 568].
 A judge is liable for injury caused by a ministerial act; to have immunity the judge must be
performing a judicial function. See, e. g., Ex parte Virginia, 100 U.S. 339 ; 2 Harper & James,
The Law of Torts 1642-1643 (1956).
 The presence of malice and the intention to deprive a person of his civil rights is wholly
incompatible with the judicial function.

 When the state is one of the perpetrators and violators, there can be no expectation of just,
indeed any, relief from it. The State cannot cause a federal violation, and then try to prohibit
litigants from seeking redress in the federal courts for those same violations (i.e. the state cannot
violate our fundamental rights, and then try to have us dismissed out of federal court for seeking
vindication of those rights) ' "We have long recognized that a state cannot create a transitory
cause of action and at the same time destroy the fight to sue on that transitory cause of
action in any court having jurisdiction", Tennessee Coal, Iron & R, Co. v. George, 233 U.S.
354, 360 (1914)' cited in Marshall v. Marshall (2006).Judges' oath of office includes the
undertaking to uphold the laws and Constitution of the United States. Any Judge violating
such undertakings loses jurisdiction, resulting in his orders being VOID, and he himself commits
a treasonable offense against the United States.
Punishment varies from a fine or imprisonment of up to one year, or both, and if bodily injury
results or if such acts include the use, attempted use, or threatened use of a dangerous weapon,
explosives, or fire shall be fined or imprisoned up to ten years or both, and if death results, or if
such acts include kidnapping or an attempt to kidnap, aggravated sexual abuse or an attempt to
commit aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or
imprisoned for any term of years or for life, or both.
FRAUD UPON THE COURT (By The Court)
Fraud Upon the Court is where the Judge (who is NOT the "Court") does NOT support or
uphold the Judicial Machinery of the Court. The Court is an unbiased, but methodical "creature"
which is governed by the Rule of Law... that is, the Rules of Civil Procedure, the Rules of
Criminal Procedure and the Rules of Evidence, all which is overseen by Constitutional law. The
Court can ONLY be effective, fair and "just" if it is allowed to function as the laws proscribe.
The sad fact is that in MOST Courts across the country, from Federal Courts down to local
District courts, have judges who are violating their oath of office and are NOT properly
following these rules, (as most attorney's do NOT as well, and are usually grossly ignorant of the
rules and both judges and attorneys are playing a revised legal game with their own created
rules) and THIS is a Fraud upon the Court, immediately removing jurisdiction from that Court,
and vitiates (makes ineffective - invalidates) every decision from that point on. Any judge who
does such a thing is under mandatory, non-discretionary duty to recuse himself or herself from
the case, and this rarely happens unless someone can force them to do so with the evidence of
violations of procedure and threat of losing half their pensions for life which is what can take
place. In any case, it is illegal, and EVERY case which has had fraud involved can be re-
opened AT ANY TIME, because there is no statutes of limitations on fraud.


                                                 3! of !33
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 3 of 33 PageID #: 324
Fact B:
Many cases involving ‘Domestic Relations’ HAVE been heard in federal venues. For a

representative list of such cases, see “Federal Questions and the Domestic-Relations

Exception” ( e.1364.Silverman.1427_mszybhch.pdf)




                                            4! of !33
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 4 of 33 PageID #: 325
…Newdow implied that federal courts SHOULD hear cases raising “delicate issues of

domestic relations” only in “rare instances,” and only when “necessary to answer a substantial

federal question that transcends or exists apart from the family law issue.”8

8. Newdow, 542 U.S. at 13 (emphasis added).




                                           5! of !33
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 5 of 33 PageID #: 326
The Plaintiff provides the following content AGAIN in the event the Court overlooked its
obligation and responsibility “to answer a substantial federal question that transcends or
exists apart from the family law issue.”8 Sua Sponte Appointment of a Guardian ad Litem
⬇⬇




                                          6! of !33
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 6 of 33 PageID #: 327
                                 7! of !33
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 7 of 33 PageID #: 328
                                 8! of !33
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 8 of 33 PageID #: 329
                                 9! of !33
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 9 of 33 PageID #: 330
https://legallyspeakingohio.com/2018/07/merit-decision-divorce-courts-sua-sponte-appointment-of-
guardian-ad-litem-for-adult-party-both-immediately-appealable-and-wrong-thomasson-v-thomasson/?
fbclid=IwAR3tjPN5s2aV4aeaZdSgkD6lrOsvOzZGJZZkj2RCnRH7Nw381nhd8xy7R6s

The Plaintiff further cites:
Thomasson v. Thomasson, 153 Ohio St. 3d 398, 106 N.E.3d 1239, 2018 Ohio 2417 (Ohio 2018)

Assigning a Guardian ad Litem to an adult party “violates an adult’s right to due process to treat
the adult as an incompetent and to deprive that adult of his or her autonomy without an
adjudication that the adult is incompetent and without prior notice and an opportunity to be
heard on the issue of his or her competency.”




                                             ! of !33
                                              10
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 10 of 33 PageID #: 331
Thomasson v. Thomasson, 153 Ohio St. 3d 398, 106 N.E.3d 1239, 2018 Ohio 2417 (Ohio 2018):




where as “Further, the lack of proper process violated Carol's due-process rights, and we
therefore vacate the trial court's order and remand the case to the trial court for
further proceedings.”




                                         ! of ! 33
                                          11
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 11 of 33 PageID #: 332
                                 ! of !33
                                  12
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 12 of 33 PageID #: 333
                                 ! of !33
                                  13
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 13 of 33 PageID #: 334
To reiterate:




                                   ! of !33
                                    14
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 14 of 33 PageID #: 335
                                 ! of !33
                                  15
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 15 of 33 PageID #: 336
Fact C:

                                   ! of !33
                                    16
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 16 of 33 PageID #: 337
https://www.uscourts.gov/judges-judgeships/code-conduct-united-states-judges
This Court is responsible for upholding Canon 3B(6): ‘Public confidence and
impartiality of the integrity of the judiciary’




                                     ! of !33
                                      17
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 17 of 33 PageID #: 338
Undeniably, numerous examples of ‘Reliable information of likely misconduct’ have been
provided to this Court with the expectation that ‘appropriate actions be taken’ in a ‘manner
reasonable minds would expect’




                                             ! of !33
                                              18
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 18 of 33 PageID #: 339
Now that this Court DOES concede these are violations of FEDERAL law, and THIS venue

DOES have jurisdiction to address and adjudicate these claims, it is imperative this Court

set this matter for trial immediately. To further deny The Plaintiff right to file redress with

the government is yet another and FURTHER violation of The Plaintiff’s 1st amendment.




For the Court’s convenience, The Plaintiff has included the necessary information required to
report the misconduct of Julie Palafox et al
The State of California
COMMISSION ON JUDICIAL PERFORMANCE
455 Golden Gate Avenue, Suite 14400
San Francisco, California 94102

https://cjp.ca.gov/online-complaint-instructions/
The Plaintiff requests this court copy him on all correspondence made with the CA COJP

Moreover, here is the information to report the judicial misconduct of Judge Philip Robinson and
Judge Joseph Woodruff. Complaints regarding these two judicial officers can be filed here:

https://www.tncourts.gov/sites/default/files/docs/complaint_form-fillable_2022feb8_fillable.pdf


The Plaintiff also requests the Court to copy him on all of this correspondence as well.

As for the perjury and Fraud upon The Court under The Color of Law perpetrated by Amber
Seymour and Jennifer Cole, et al, it can be reported directly to
The TN Board of Professional Responsibility :

https://www.tbpr.org/for-the-public/file-complaint

The Plaintiff also requests the Court to copy him on all of this correspondence as well.



                                             ! of !33
                                              19
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 19 of 33 PageID #: 340
(see also notice to Supervisor Bartlett and claim for damages against Orange County, California)




In summation, the intent of the Domestic Exclusion clause is NOT to allow States to violate
Federal law.

Again, as demonstrated above and throughout there are many of examples of when Federal
Courts have heard with proper jurisdiction cases involving ‘Domestic Relations’.

Overlooking these facts are NOT ‘judicial errors’ that are to be taken up on Appeal. Rather, they
are a flagrant predatory and discriminatory abuse of the Law of which this Court is
1) aware
2) been provided with sufficient Case Law and documentation.

                                                 .

Once again, the Plaintiff demands this court to reopen the case.


There is no statute of limitations for perpetrators of ‘Fraud upon The Court’
As such, The Plaintiff has filed a Motion to Vacate Judge Palafox’s ruling to The General
Counsel of Orange County and The Presiding Judge of The California Superior Court, County of
Orange and requested the US Department of Justice to open yet ANOTHER investigation of the
corruption, racketeering, and basic lawlessness of the California Superior Court as was done in
2016 which resulted in convictions.




This court is fully aware of MAJOR deprivations of the Plaintiff’s Federal and State Civil Rights

under The Color of Law. (Fraud Upon The Court and ADA discrimination and abuse, inclusive.)

As such, that rules ALL Defendants ‘off duty’, hence, loss of ALL subject matter jurisdiction.



1) "The law is well-settled that a void order or judgement is void even before reversal",

VALLEY v. NORTHERN FIRE & MARINE INS. CO., 254 U.S. 348,41 S. Ct. 116

(1920)


                                             ! of !33
                                              20
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 20 of 33 PageID #: 341
2)"Courts are constituted by authority and they cannot go beyond that power

delegated to them. If they act beyond that authority, and certainly in contravention

of it, their judgements and orders are regarded as NULLITIES; they are not voidable,

but simply void, and this even prior to reversal." WILLIAMSON v. BERRY, 8 HOW. 945,

540 12 L. Ed. 1170, 1189 (1850). It has also been held that "It is NOT

necessary to take any steps to have a void judgment reversed, vacated, or set aside, It

may be impeached in any action direct or, collateral.' Holder v. Scott, 396 S.W.2d

906, (Tex.Civ.App., Texarkana, 1965, writ ref., n.r.e.). A court 'cannot confer

jurisdiction where none existed and cannot make a void proceeding valid.’ It is clear

and well established law that “a void order can be challenged in ANY court", OLD

WAYNE MUT. L. ASSOC. v. McDONOUGH, 204 U. S. 8,27 S. Ct. 236 (1907).

Judgment is a void judgment if court that rendered judgment lacked jurisdiction of

the subject matter, or of the parties, or acted in a manner inconsistent with due

process, Fed. Rules Civ. Proc., Rule 60(b)(4),28 U.S.C.A., U.S.C.A. Const.") https://

www.supremecourt.gov/DocketPDF/18/18-7070/76529/20181218092909982_00000008.pdf




                                             ! of !33
                                              21
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 21 of 33 PageID #: 342
The Plaintiff further cites:

1) Stump v. Sparkman, 435 U.S. 349, (1978)

2) Bradley v. Fisher, 80 U.S. 335 (1871)
3) Ableman v. Booth, 62 U.S. 506 (1858)




The Plaintiff respectfully reminds the Court of Cannon 2A:




                                           ! of !33
                                            22
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 22 of 33 PageID #: 343
and strongly encourages the Court to properly handle the matters brought forth herein in the

manner reasonable minds would expect.




This Court has the authority to summarily ‘impeach the void order’ as indicated above as it IS a

NULLITY or assemble a jury, as was demanded, to hear and adjudicate these matters.




                                            ! of !33
                                             23
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 23 of 33 PageID #: 344
                                 ! of !33
                                  24
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 24 of 33 PageID #: 345
                                 ! of !33
                                  25
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 25 of 33 PageID #: 346
                                 ! of !33
                                  26
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 26 of 33 PageID #: 347
                                 ! of !33
                                  27
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 27 of 33 PageID #: 348
cc:

Daniel Diermeier, Vanderbilt University Chancellor




                                        ! of !33
                                         28
      Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 28 of 33 PageID #: 349
C. Cybele Raver, Provost and Vice Chancellor For Academic Affairs




Chris Guthrie, Dean Vanderbilt School of Law




                                       ! of !33
                                        29
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 29 of 33 PageID #: 350
Alberto Gonzales, President Belmont College of Law




Greg Jones, President Belmont University




                                      ! of !33
                                       30
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 30 of 33 PageID #: 351
cc:(continued)

Annie Lindt, Human Trafficking Expert, 5 Bamboo, Newport Beach, CA 92660
Jennifer Taub, ‘Corruption Specialist’
Robert “Bobby” Bullock
Julie Palafox
Theodore Howard
Gale Hickman
Jennifer Posey
Barbara Fritz
Lisa Risner
Tamar Arminak
Cheryl Feiner
Marc Weiss
Rob Bonta
Superintendent NMUSD
TN Board of Professional Responsibility
Gregory Brown
Keith McHorny
Robert Sech
Charles Margines
Lisa McCall
TN Governor Bill Lee
Clarence H Carter
Elaine Beeler
Marjorie Kaup Haines
TN DHS Inspector General
Glenn Funk
kevin.hourican@sysco.com
jmaaning@law.harvard.edu
jacksonforjesus@me.com
Doug Baze
struppa@chapman.edu
…and more




                                     ! of !33
                                      31
  Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 31 of 33 PageID #: 352
                                 ! of !33
                                  32
Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 32 of 33 PageID #: 353
Certificate of Service I hereby certify that a true and correct copy of the foregoing document was sent via

first class prepaid mail and via email upon the following parties on this the 2nd day of September, 2022.



Child Support Services, Jennifer Cole    TN Assistant AG Amber Seymour    CA AG Cheryl Feiner, CA DOJ
212 East Main Street                     PO Box 20207                     PO Box 944255
Franklin, TN 37064                       Nashville, TN 37202              Sacramento, CA 94244-2550
jennifer.cole@tn.gov                     amber.seymour@ag.tn.gov          Cheryl.feiner@doj.ca.gov
Judicialdistrict21.DHS@tn.gov            herbert.slatery@ag.tn.gov        jpalafox@occourts.org



TN Senior Assistant AG Jordan K. Crews
PO Box 20207
Nashville, TN 37202
jordan.crews@ag.tn.gov




Respectfully Submitted,




/s/ Daniel S Greenberg

Plaintiff
2113 Acklen Avenue B
Nashville, TN 37212

                                                 ! of 33
                                                  33  !
   Case 3:22-cv-00325 Document 37 Filed 09/05/22 Page 33 of 33 PageID #: 354
